Case 1:19-cv-00958-TWP-DLP Document 39 Filed 04/16/19 Page 1 of 2 PageID #: 124



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 WILLIAM BARHOUSE,                     )
                                       )
        Plaintiff,                     )
                                       )
                v.                     ) CAUSE NO. 1:19-CV-00958-TWP-DLP
                                       )
 CITY OF MUNCIE, et al.,               )
                                       )
        Defendants.                    )

     NOTICE OF AUTOMATIC INITIAL EXTENSION OF TIME TO RESPOND TO
                             COMPLAINT

        State Defendant, Carl Sobieralski, by counsel, gives notice of an automatic initial extension

 of time of 28 days, pursuant to Local Rule 6-1(b), to and including, May 17, 2019, in which to file

 a responsive pleading to Plaintiff’s Complaint in the above-entitled case. In support, State

 Defendant states:


        1.      The Plaintiff’s Complaint was filed March 7, 2019. [ECF 1.]

        2.      Service of Summons was effectuated on the Defendant on or about March 29, 2019.

 [ECF 24.]

        3.      A responsive pleading would be due twenty one from March 29, 2019 making the

 response to the Complaint due April 19, 2019.

        4.      That time has not yet passed.

        5.      Accordingly, the Defendant requests an automatic initial 28-day extension of time

 to respond to the Complaint, up to and including May 17, 2019.

        6.      The requested extension does not interfere with any Case Management Plan,

 scheduled hearing, or other case deadlines.
Case 1:19-cv-00958-TWP-DLP Document 39 Filed 04/16/19 Page 2 of 2 PageID #: 125



         7.      Counsel for the State Defendant has contacted counsel for Plaintiffs on April 16,

 2019 who posits no objection to the extension of time.

         8.      This is the Defendant’s first request for an extension of time and is made of

 necessity and not interposed for delay.


         WHEREFORE, Defendants, by counsel, respectfully move the Court for an extension of

 time of 28 days, to May 17, 2019 in which to file a responsive pleading in the above entitled matter,

 and for all other just and proper relief.

                                                       Respectfully submitted,

                                                       CURTIS T. HILL, Jr.
                                                       Indiana Attorney General
                                                       Atty. No. 13999-20


                                                       Bryan R. Findley
                                                       Deputy Attorney General
                                                       Atty. No. 34447-30


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